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----Original Message-----

From: “"Kapshandy, Timothy E." <tkapshandy@sidley.com>
Date: Thu, 29 Oct 2009 15:39:29

To: Trita Parsi<tparsi@jhu.edu>; Siamak
Namazi<snamazi@atiehbahar.com>

Subject: RE: what do you think of this?

-And they are using it for lobbying! Send it to Lake right away. He is
iooking to cement the Namazi relationship. This is perfect and it shows
them using the NED account for lobbying.

‘Thanks,

Tim Kapshandy

Sidley Austin, LLP

1 South Dearborn Street
Chicago, illinois 60603
312-853-7643

cell: (219) 670-0698
tkapshan@sidley.com
hitp:/Awww.sidley.com

From: Trita Parsi [mailto:iparsi@jhu.edu]
Sent: Saturday, December 24, 2005 10:30 PM

To: ‘Siamak Namazi'
Subject: RE: what do you think of this?

Hey,

Great seeing you today.

| guess the plan you list below is for us to first come up with some rec's, try
them on our group, then take the modified version to Burns? That sounds
good.

 
 

 

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Attp://open.gO00ya.com/politics/archives/04 1200.php

 

Siamak Namazi

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used, by any taxpayer for the purpose of avoiding any penalties that may

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as written in connection

with the promotion or marketing by others of the transaction(s) or matter(s)

addressed in this
communication and (ii} the taxpayer should seek advice based on the

taxpayer's particular
circumstances from an independent tax advisor.

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